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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                           )        Chapter 11
                                 )        Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,        )        (Joint Administration Pending)
                                 )
         Debtors.                )

                    RULE 7.1 DISCLOSURE STATEMENT OF
                      THE NEW YORK TIMES COMPANY

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable

judges and magistrate judges of this Court to evaluate possible disqualification or

recusal, the undersigned counsel for The New York Times Company, a non-

governmental publicly traded company, certifies that it has no parent company and

that no publicly held corporation owns 10% or more of its stock.

Dated: December 9, 2022




                                 /s/ David L. Finger___________
                                 David L. Finger (ID #2556)
                                 Finger & Slanina, LLC
                                 One Commerce Center
                                 1201 N. Orange St., 7th fl.
                                 Wilmington, DE 19801.
                                 (302) 573-2525
                                 Attorney for The New York Times Company
